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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

JANE DOE,                                    )
                                             )
            Plaintiff,                       )
                                             )
            v.                               )     No. 4:22 CV 117 CDP
                                             )
RIVERSIDE PARTNERS, LLC,                     )
d/b/a The Riverside Company, et al.,         )
                                             )
            Defendants.                      )

                             ORDER OF DISMISSAL

       Plaintiff having failed to timely comply with my Memorandum and Order

entered April 22, 2022 (ECF 30), and having been cautioned that failure to timely

comply would result in the dismissal of this action without prejudice,

      IT IS HEREBY ORDERED that this action is dismissed without prejudice.

      IT IS FURTHER ORDERED that all pending motions are denied as moot.




                                       _______________________________
                                       CATHERINE D. PERRY
                                       UNITED STATES DISTRICT JUDGE

Dated this 3rd day of May, 2022.
